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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF INDIANA
                                FORT WAYNE DIVISION

MARY E. GARCIA,                               )
                                              )
        Plaintiff,                            )
                                              )
v.                                            )      Cause No. 1:19-CV-356-HAB-JEM
                                              )
ANDREW SAUL,                                  )
Commissioner of the Social                    )
Security Administration,                      )
                                              )
        Defendant.                            )

                                             ORDER
        The United States Magistrate Judge’s Report and Recommendation (ECF No. 22) was

issued October 8, 2020, and the 14-day window to object has passed with no objections filed.

        ACCORDINGLY: Upon careful consideration of the Magistrate Judge’s Report and

Recommendation and the lack of objections thereto, the Report and Recommendation (ECF No.

22) is ACCEPTED AND ADOPTED.

        The Plaintiff’s Petition for Attorney Fees Under the Equal Access to Justice Act (ECF No.

19) is GRANTED. Plaintiff is awarded $6,211.56, to fully and completely satisfy any and all

claims for fees, costs, and/or expenses that may have been payable to Plaintiff in this matter under

the Equal Access to Justice Act, 28 U.S.C. § 2412. If the Commissioner can verify that Plaintiff

does not owe any pre-existing debt subject to an offset, the Commissioner will direct the award to

be made payable to Plaintiff’s attorney pursuant to the EAJA assignment signed by Plaintiff and

Plaintiff’s attorney.


        SO ORDERED on October 27, 2020.

                                              s/ Holly A. Brady
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                                   JUDGE HOLLY A. BRADY
                                   UNITED STATES DISTRICT COURT




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